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 1                                                                     JUDGE ROBERT J. BRYAN
 2

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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT TACOMA
 8 UNITED STATES OF AMERICA,                        )     NO. CR10-5611RJB
                                                    )
 9                  Plaintiff,                      )
                                                    )     ORDER GRANTING MOTION TO
10                  vs.                             )     CONTINUE PRETRIAL MOTIONS
                                                    )     DUE DATE
11 RAYMOND PONDELICK and                            )
     ERIC PONDELICK,                                )
12                                                  )
                    Defendant.                      )
13

14          Upon the stipulation of the parties to continue the pretrial motions due date in the
15 above-captioned case, the Court finds that such a continuance would serve the ends of

16 justice, therefore,

17          IT IS HEREBY ORDERED that the pretrial motions due date be continued to
18 October 22, 2010.

19          DONE this 14th day of October, 2010.
20

21
                                                    A
                                                    Robert J Bryan
                                                    United States District Judge
22

23 Presented by:
     /s/ Russell V. Leonard                         /s/ Sunni Ko
24 RUSSELL V. LEONARD                               Sunni Ko
     Attorney for Raymond Pondelick                 Assistant U.S. Attorney
25
     /s/ Timothy Lohraff
26 Timothy Lohraff, Attorney for Eric Pondelick

     ORDER GRANTING MOTION                                                     FEDERAL PUBLIC DEFENDER
                                                                                           1331 Broadway, Ste. 400
     TO CONTINUE PRETRIAL MOTIONS DUE DATE                                              Tacoma, Washington 98402
     United States v. Raymond Pondelick; CR10-5611RJB    1                                          (253) 593-6710
